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IN THE UNITED STATES DISTRICT COURT n 0 ‘~J \
FoR THE wEsTERN DISTRICT oF TENNESSEE,;,, `\ 953 /9!, §§
EASTERN DIVISION “ ’C';: /;l /?@ J,~. '
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4'¢9 /§' v"
"”/"OO/J}` %;
.IAMES DYER and WILDA DYER, ) 604 »/`
)
Plaintiff, )
) ,
vs. ) NO.: 04-1192-T-An
)
S.C. JOHNSON & SON, INC. and )
WAL-MART STORES, INC., )
)
Defendants. )

 

ORDER GRANTING JOINT MOTION TO AMEND SCHEDULING ORDER
AND MOTION FOR NEW TRIAL DATE

 

Pursuant to an Order of Reference entered April 19, 2005, the Joint Motion to Amend
Scheduling Order and Motion for New Trial Date has been referred to the Magistrate Judge for
deterrnination.

It appearing from the parties’ joint motions that the motions are well taken and the
motions are hereby GRANTED.

The following dates are established as the final dates for:

COMPLETING ALL DISC()VERY: August 1, 2005

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and
REQUESTS FOR ADMISSIONS: August 1, 2005

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: Have been disclosed
(ii) Defendant’s Expelts: June 10, 2005
(iii) Supp]ementation under Rule 26(e): Plaintiffs: J unc 17, 2005

Defendants: July 15, 2005
Thls document entered on the docket shea in compliance
with eula 58 and:orzs (a) FncP on 5

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(c) DEPOSITIONS OF EXPERTS: August 23, 2005
FILING DISPOSITIVE MOTIONS: September l, 2005
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintit`f: October 14, 2005
(b) for Defendant: November 4, 2005

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

 

The trial of this matter is expected to last 2 days and is SET for JURY TRIAL on
MONDAY, DECEMBER S, 2005 at 9:30 A.M.. A joint pretrial order is due on FRIDAY,
NOVEMBER 25, 2005. In the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the couIt. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from

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proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of Lscoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT IS SO ORDERED.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case l:04-CV-0l 192 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed

 

 

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Honorable J ames Todd
US DISTRICT COURT

